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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                        )
                                                 )                   8:14CR156
                       Plaintiff,                )
                                                 )
       vs.                                       )                    ORDER
                                                 )
ROCKY VERDUGO,                                   )
                                                 )
                       Defendant.                )

       This matter is before the court on the motion for an extension of time by defendant Rocky
Verdugo (Verdugo) (Filing No. 99). Verdugo seeks an additional thirty days in which to file pretrial
motions in accordance with the progression order. Verdugo's counsel represents that Verdugo
will file an affidavit wherein he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act. Verdugo's
counsel represents that government's counsel has no objection to the motion.                  Upon
consideration, the motion will be granted. No further extensions of the pretrial motion
deadline will be approved in the absence of a showing that a material injustice would occur
if the requested extension were not granted.


       IT IS ORDERED:
       Defendant Verdugo's motion for an extension of time (Filing No. 99) is granted. Verdugo
is given until on or before January 8, 2015, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motion, i.e., the time between November 24, 2014, and January
8, 2015, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 24th day of November, 2014.
                                                     BY THE COURT:
                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
